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UNITED sTATES DISTRJCT coURT Fn.sn Bv¢zf____ o.c.
FOR THE WESTERN DISTRICT oF TENNESSEE

WESTERN DIVISION 05 JUL |h PH 3= 28

THONAS §§ GOU_D
UNITES STATES or AMERICA, @»EFK U,S_ §§va COURT

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Plaimirf,
v. Cr. No. 04-20221-D

AMALIA L. MARCELLA,

Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION
TO RESET REPORT DATE

 

For good cause shown, and Without objection by the govemment, the report date in this

matter currently set for Thursday, July 21, 2005, is hereby RESET for
P\\io\\is>¢ &S,ezoo§ ads q'.oo mv\,

lt is so ORDERED, this the / 2 day of July, 2005.

 

NITED STATES DISTRICT COURT JUDGE

  
 

Th|s document entered on the docket sheet in o _ %
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UNITED sATE DISTRICT COURT - WETERN DISTRCT oFTENNESSEE

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Honorable Bernice Donald
US DISTRICT COURT

